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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT


UNITED STATES OF AMERICA                 :
     Plaintiff,                          :
                                         :
v.                                       :     CRIMINAL ACTION NO.
                                         :     3:04CR00060 (JCH)
DENNIS RODRIGUEZ                         :
     Defendant.                          :     MAY 2, 2008


                              ORDER TO SHOW CAUSE

        The United States of America is hereby ORDERED to SHOW CAUSE why the

defendant ought not be granted the relief sought in his Motion to Reduce Sentence

pursuant to 18 U.S.C. § 3582(c)(2). The Government is to show cause by May 21,

2008.

        The court has not determined to enter such an amended judgment and so invites

counsel for defendant to file a memorandum in support of such an amended judgment

no later than May 28, 2008.

        Counsel are directed to confer before May 21, 2008, and if the government and

the defendant are in agreement, to report such to the court by May 21, 2008.

SO ORDERED.

        Dated at Bridgeport, Connecticut this 2nd day of May, 2008.




                                          /s/ Janet C. Hall
                                         Janet C. Hall
                                         United States District Court
